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                                                               May 28, 2025

Via ACMS

Catherine O’Hagan Wolfe
Clerk of Court
U.S. Court of Appeals for the Second Circuit
40 Foley Square
New York, New York 10007

         Re:       People of the State of New York v. President Donald J. Trump,
                   No. 24-2299

Dear Ms. O’Hagan Wolfe:

         I write to notify the Court of a change of arguing counsel in this matter. Jeffrey
B. Wall of Sullivan & Cromwell LLP will present oral argument on behalf of President
Trump. This update is reflected in the notice of hearing date acknowledgment filed
earlier today.

                                                       Respectfully submitted,

                                                       /s/ Robert J. Giuffra, Jr.
                                                       Robert J. Giuffra, Jr.

cc:      Counsel of Record (via ACMS)
